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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:05CR163
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
JAZMIN CERNA,                                 )
                                              )
              Defendant.                      )


       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant‘s objections thereto (Filing No. 127). See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12,

2005), the sentencing guidelines are advisory.

       The Defendant objects to ¶¶ 30 (drug quantity and base offense level) and 31

(dangerous weapon enhancement) as outside the parties’ Rule 11(c)(1)(C) plea agreement.

The Court’s tentative findings are that the plea agreement should be upheld.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the Defendant’s Objections to the

Presentence Investigation Report (Filing No. 127) are granted;

       2.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are
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required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 23rd day of November, 2005.

                                          BY THE COURT:

                                          s/ Laurie Smith Camp
                                          United States District Judge




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